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Local Form 3015-1 (1/22)


                                                    UNITED STATES BANKRUPTCY COURT
                                                         DISTRICT OF MINNESOTA

In re:          Parker, Steven Royce                                                                       Case No.
                                                                                                           CHAPTER 13 PLAN                  ❑ Modified
Debtor.                                                                                                    Dated                    04/25/2024
In a joint case, debtor means debtors in this plan.


Part 1. NOTICE OF NONSTANDARD PLAN PROVISIONS, SECURED CLAIM LIMITATIONS, AND LIEN OR SECURITY INTEREST
AVOIDANCE: Debtor must check the appropriate boxes below to state whether or not the plan includes each of the following items:

 1.1     A limit on the amount of a secured claim based on a valuation of the collateral for the                  ❑ Included                ✔ Not Included
                                                                                                                                            ❑
         claim, set out in Parts 9 or 16

 1.2     Avoidance of a security interest or lien, set out in Part 16                                             ❑ Included                ✔ Not Included
                                                                                                                                            ❑
 1.3     Nonstandard provisions, set out in Part 16                                                               ✔ Included
                                                                                                                  ❑                         ❑ Not Included
Part 2. DEBTOR’S PAYMENTS TO TRUSTEE: The initial plan payment is due not later than 30 days after the order for relief, unless the
court orders otherwise.
2.1 As of the date of this plan, the debtor has paid the trustee             $0.00         .
2.2 After the date of this plan, the debtor will pay the trustee:

             Plan payment                           Start MM/YYYY                              End MM/YYYY                                    Total

                             $600.00                  1 (05/2024)                                  60 (04/2029)                                       $36,000.00

                                                                                    TOTAL                                                             $36,000.00

                               ✔ 36 months or ❑ 60 months from the date of the initial plan payment unless all allowed claims are paid in a
2.3 The minimum plan length is ❑
    shorter time.
2.4 The debtor will also pay the trustee                                                                                           .
2.5 The debtor will pay the trustee a total of        $36,000.00        [lines 2.1 + 2.2 + 2.4].

Part 3. PAYMENTS BY TRUSTEE AND TRUSTEE’S FEES: Prior to confirmation of the plan, the trustee will pay from available funds payments
designated as Adequate Protection (“Adq. Pro.”) under Parts 8 and 9 to creditors with claims secured by personal property. All other funds will be
disbursed by the trustee following confirmation of the plan as soon as is practicable. The trustee will pay from available funds only creditors for
which proofs of claim have been filed. The trustee is not required to retain funds for any claim for which a proof of claim has not been timely filed
and may disburse those funds to other claimants. The trustee may collect a fee of up to 10% of plan payments, or $3,600.00 [line 2.5 x 0.10].

Part 4. EXECUTORY CONTRACTS AND UNEXPIRED LEASES (§ 365): The debtor assumes the following executory contracts or unexpired
leases. Debtor will pay directly to creditors all payments that come due after the date the petition was filed. Cure provisions, if any, are set forth in
Part 7.

                                         Creditor                                                                 Description of property

                                                                             None

Part 5. CLAIMS NOT IN DEFAULT: Payments on the following claims are current. The debtor will pay directly to creditors all payments that
come due after the date the petition was filed. The creditors will retain liens, if any.

                                         Creditor                                                                 Description of property

                                                                             None
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Part 6. HOME MORTGAGES IN DEFAULT (§§ 1322(b)(5) AND 1322(e)): The trustee will pay the amount of default listed in the proof of claim
on the following claims secured only by a security interest in real property that is the debtor’s principal residence. The debtor will pay directly to
creditors all payments that come due after the date the petition was filed. The creditors will retain liens. All following entries are estimates.

                                                                                                                              + amount paid
                                      Amount of             Monthly           Beginning                          Remaining      to date by       = Total
                Creditor                                                                      # of payments
                                       default              payment           in mo./yr.                         Payments     Trustee (mod      payments
                                                                                                                                plan only)

 6.1   VisionBank                       $7,991.70              $275.00        08/2024                29           $7,975.00                       $7,991.70

                                                                $16.70        01/2027                1               $16.70

                 TOTAL                                                                                                                            $7,991.70

Part 7. CLAIMS IN DEFAULT (§§ 1322(b)(3) AND (5) AND 1322(e)): The trustee will pay the amount of default listed in the proof of claim in the
amount allowed on the following claims. The debtor will pay directly to creditors all payments that come due after the date the petition was filed.
The creditors will retain liens, if any. All following entries are estimates, except for interest rate.

                                                                                                                              + amount paid
                                                  Interest
                                    Amount of                    Beginning         Monthly             # of      Remaining      to date by       = Total
               Creditor                            rate (if
                                     default                     in mo./yr.        payment           payments    payments     Trustee (mod      payments
                                                    any)
                                                                                                                                plan only)

                                                                               None

                TOTAL                                                                                                                                  $0.00

Part 8. SECURED CLAIMS SUBJECT TO MODIFICATION (“CRAMDOWN”) PURSUANT TO § 506 (§ 1325(a)(5)) The trustee will pay, the
amount set forth in the “Total Payments” column below on the following secured claims if a proof of claim is filed and allowed. Notwithstanding a
creditor’s proof of claim filed before or after confirmation, the amount listed in the secured claim amount column binds the creditor pursuant to 11
U.S.C. § 1327 and confirmation of the plan is a determination of the creditor’s allowed secured claim. For secured claims of governmental units,
unless otherwise ordered by the court, the value of a secured claim listed in a proof of claim filed in accordance with FRBP 3012(c) controls over
any contrary amount. Unless otherwise specified in Part 16, the creditors listed in this Part retain the liens securing their allowed secured claims
to the extent provided under 11 U.S.C. § 1325(a)(5)(B)(i). Any allowed unsecured portion of the claim will be paid under Part, 12, Part 13, or Part
14.

                                                                                                                              + amount paid
                             Est.      Secured                   Adq.
                                                     Int.                Beginning         Monthly      # of      Remaining     to date by           =
           Creditor         Claim       claim                    Pro.
                                                     rate                in mo./yr.        payment    Payments    payments    Trustee (mod    Total payments
                           amount      amount                  (Check)
                                                                                                                                plan only)

                                                                               None

           TOTAL                                                                                                                                       $0.00

Part 9. SECURED CLAIMS EXCLUDED FROM § 506 AND NOT SUBJECT TO MODIFICATION (“CRAMDOWN”) (§ 1325(a)) (910 vehicles
and other things of value) The trustee will pay the amount of the allowed secured claim listed in the proof of claim at the interest rate set forth
below. Any allowed unsecured portion of the claim will be paid under Part 12, Part 13, or Part 14. All following entries are estimates, except for
interest rate. Unless otherwise specified in Part 16, the creditors listed in this Part retain the liens securing their allowed secured claims to the
extent provided under 11 U.S.C. § 1325(a)(5)(B)(i).
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                                     Est.                                                                                       + amount paid
                                                              Adq.
                                   Secured       Int.                   Beginning    Monthly           # of      Remaining        to date by              =
             Creditor                                         Pro.
                                    Claim        Rate                   in mo./yr.   payment         Payments    payments       Trustee (mod       Total payments
                                                            (Check)
                                   amount                                                                                         plan only)

 9.1    Minnesota                  $11,439.00    7.00%           ❑       05/2024                                      $0.00                            $14,510.46
        Department of
        Revenue

                                                                         08/2024          $100.00      30         $3,000.00

                                                                         02/2027          $375.00      14         $5,250.00

                                                                         04/2028          $540.00       11        $5,940.00

                                                                         03/2029          $320.46       1           $320.46

 9.2    Hennepin County            $4,330.00     10.00%          ❑       05/2024                                      $0.00                             $5,430.06
        Property Tax

                                                                         08/2024          $100.00      27         $2,700.00

                                                                         11/2026          $165.00      16         $2,640.00

                                                                         03/2028           $90.06       1            $90.06

              TOTAL                                                                                                                                    $19,940.52

Part 10. PRIORITY CLAIMS (not including claims under Part 11): The trustee will pay in full all claims entitled to priority under § 507(a)(2)
through (a)(10), including the following. The amounts listed are estimates. The trustee will pay the allowed portion of the priority amount listed
in the proof of claim.

                                                                                                                                + amount paid to
                                                         Claim        Beginning      Monthly            # of      Remaining                            = Total
                        Creditor                                                                                                 date by Trustee
                                                        amount        in mo./yr.     payment          payments    payments                            payments
                                                                                                                                 (mod plan only)

 10.1   Minnesota Department of Revenue                                                   Pro-Rata                      $0.00                               $0.00

 10.2   Walker & Walker Law Offices, PLLC               $3,328.00     05/2024             $540.00           3       $1,620.00                           $3,328.00

                                                                      08/2024              $65.00        26         $1,690.00

                                                                      10/2026              $18.00           1          $18.00

 10.3   Internal Revenue Service                                                          Pro-Rata                      $0.00                               $0.00

                        TOTAL                                                                                                                           $3,328.00

Part 11. DOMESTIC SUPPORT OBLIGATION CLAIMS: The trustee will pay in full all domestic support obligation claims entitled to priority
under § 507(a)(1), including the following. The amounts listed are estimates. The trustee will pay the allowed portion of the priority amount
listed in the proof of claim.

                                                                                                                                + amount paid to
                                                         Claim        Beginning      Monthly            # of      Remaining                            = Total
                        Creditor                                                                                                 date by Trustee
                                                        amount        in mo./yr.     payment          payments    payments                            payments
                                                                                                                                 (mod plan only)

                                                                                   None

                        TOTAL                                                                                                                               $0.00

Part 12. SEPARATE CLASSES OF UNSECURED CLAIMS: In addition to the class of unsecured claims specified in Part 13, there shall be
separate classes of non-priority unsecured claims including the following. The trustee will pay the allowed portion of the nonpriority amount listed
in the proof of claim. All following entries are estimates.
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                                                                                                                        + amount paid
                                   Unsecured         Interest
                                                                 Beginning     Monthly     # of        Remaining          to date by            = Total
                Creditor             claim            rate (if
                                                                 in mo./yr.    payment   Payments      payments         Trustee (mod           payments
                                    amount             any)
                                                                                                                          plan only)

                                                                          None

                TOTAL                                                                                                                                   $0.00

Part 13. TIMELY FILED UNSECURED CLAIMS: The trustee will pay holders of allowed non-priority unsecured claims for which proofs of claim
were timely filed the balance of all payments received by the trustee and not paid under Parts 3, 6, 7, 8, 9, 10, 11, and 12 their pro rata share of
approximately       $1,139.78       [line 2.5 minus totals in Parts 3, 6, 7, 8, 9, 10, 11, and 12].
13.1 The debtor estimates that the total unsecured claims held by creditors listed in Part 8 and 9 are            $0.00         .
13.2 The debtor estimates that the debtor's total unsecured claims (excluding those in Parts 8 and 9) are          $333,371.00       .
13.3 Total estimated unsecured claims are          $333,371.00    [lines 13.1 + 13.2].

Part 14. TARDILY-FILED UNSECURED CLAIMS: All money paid by the debtor to the trustee under Part 2, but not distributed by the trustee
under Parts 3, 6, 7, 8, 9, 10, 11, 12, and 13, will be paid to holders of allowed nonpriority unsecured claims for which proofs of claim were tardily
filed. Tardily filed claims remain subject to objection pursuant to 11 U.S.C. §502(b)(9).

Part 15. SURRENDER OF COLLATERAL AND REQUEST FOR TERMINATION OF STAY: The debtor has surrendered or will surrender the
following property to the creditor. The debtor requests that the stays under §§ 362(a) and 1301(a) be terminated as to the surrendered collateral
upon confirmation of the plan.

                                                                                                           Description of property
                                        Creditor
                                                                                          (including the complete legal description of real property)

                                                                          None

Part 16. NONSTANDARD PROVISIONS: The Trustee may distribute additional sums not expressly provided for herein at the trustee’s
discretion. Any nonstandard provisions, as defined in FRBP 3015(c), must be in this Part. Any nonstandard provision placed elsewhere in the
plan is void. Any request by the debtor to modify a claim secured only by a security interest in real property that is the debtor’s principal
residence must be listed in this Part and the debtor must bring a motion to determine the value of the secured claim pursuant to Local Rule
3012-1(a).

 1.       1305 claims
          Pursuant to 11 U.S.C. Section 1305, a proof of claim may be filed by the IRS for taxes that become payable while the case is
          pending. The trustee shall only pay Section 1305 claims attributable to the taxable year in which the case concerning such debtor(s)
          was filed, and only to the extent funds are available.

 2.       Post-Petition Consumer Debt
          Approval by the Bankruptcy Court or the Chapter 13 Trustee shall not be required prior to the debtor incurring a consumer debt while
          this case is pending, but the holder of the claim against the debtor based upon such debt is subject to § 1305.

 3.       Property taxes paid directly by debtor(s) outside of plan
          The debtor(s) or their mortgage servicer may pay property taxes directly to the county taxing authority when the property taxes
          become due.

 4.       Surrender and Relief From Stay
          Upon the granting of relief from the automatic stay, the trustee shall cease payments on account of the secured portion of the
          applicable claim. For any claim arising from the granting of relief from the automatic stay, surrender, foreclosure, repossession, or
          return of any collateral to any creditor listed in Parts 5, 6, 7, 8, 9, 10, 16 or Non-standard provisions, for any reason, including plan
          modification, the trustee shall pay such claim as a general unsecured claim upon amendment of the applicable claim. Any alleged
          balance of any claim to such creditor shall be discharged upon the debtor(s) receiving a discharge in this case.
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 5.        Tax Refunds
           The debtor(s) shall be entitled to the first $1200 for an individual chapter 13 debtor and $2,000 for married chapter 13 debtors of
           each year's tax refunds. The balance shall be paid to the trustee as an additional plan payment. Any Earned Income Credit and
           Minnesota Working Family Credits shall be retained by the debtor(s). The debtors shall keep these credits in addition to the $1,200 or
           $2,000.

SUMMARY OF PAYMENTS

                                           Class of payment                                                        Amount to be paid

 Payments by trustee [Part 3]                                                                                                           $3,600.00

 Home mortgages in default [Part 6]                                                                                                     $7,991.70

 Claims in default [Part 7]                                                                                                                $0.00

 Secured claims subject to modification (cramdown) pursuant to § 506 [Part 8]                                                              $0.00

 Secured claims excluded from § 506 [Part 9]                                                                                           $19,940.52

 Priority claims [Part 10]                                                                                                              $3,328.00

 Domestic support obligation claims [Part 11]                                                                                              $0.00

 Separate classes of unsecured claims [Part 12]                                                                                            $0.00

 Timely filed unsecured claims [Part 13]                                                                                                $1,139.78

 TOTAL (must equal line 2.5)                                                                                                           $36,000.00

Certification regarding nonstandard provisions:
I certify that this plan contains no nonstandard
provision except as placed in Part 16.                                        Signed:            s/ Steven Royce Parker
                                                                                        Steven Royce Parker
Signed:                 s/ Andrew Walker                                                Debtor 1
          Andrew Walker
          Attorney for debtor
                                                                              Signed:
          Bar Number: 0392525
                                                                                        Debtor 2 (if joint case)
          Walker & Walker Law Offices, PLLC
          4356 Nicollet Ave
          Minneapolis, MN 55409
          Phone: (612) 824-4357
          Email: andrew@bankruptcytruth.com
